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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
    Plaintiff,

vs.                                               CASE NO.:   1:21-CR-00028-APM

KELLY MEGGS
     Defendant.
______________________________/                   FLORIDA BAR NO.: 0983675

        MOTICE OF ADOPTION OF CO-DEFENDANTS’ MOTIONS

      COMES NOW the defendant, KELLY MEGGS, by and through his

undersigned counsel, and pursuant to the Court’s direction, and submits the

following NOTICE OF ADOPTION of the following motions filed by co-defendants

in this matter.

      The defendant files this notice to obtain the result of the Court’s ruling on

these motions without unduly burdening the court and record with unnecessarily

duplicative filings and pleadings.

      The defendant reserves the right to supplement any motion so adopted, as well

as presenting oral argument thereon, to the extent that the document does not

adequately address the interests of Mr. Meggs.

      a. Second Motion to Dismiss by Donovan Ray Crowl. Doc. 382.
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      b. Motion to Dismiss by Donovan Ray Crowl. Doc. 384.

      c. Motion to Dismiss by Connie Meggs. Doc. 386.

      d. Motion to Dismiss by Roberto A. Minuta. Doc. 389.




                                           RESPECTFULLY SUBMITTED,

                                           /s/ David Anthony Wilson
                                           DAVID ANTHONY WILSON
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                                           Ocala, FL 34471
                                           (352) 629-4466
                                           david@dwilsonlaw.com
                                           Trial Attorney for Defendant
                                           Florida Bar No: 0983675
                                           D.C. Bar ID: FL0073

                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 6th, 2021, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to the following: Office of the United States

Attorney.



                                           /s/ David Anthony Wilson
                                           DAVID ANTHONY WILSON
